      Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 1 of 32

                                                                                                E-FILED IN OFFICE • EP
                                                                                              CLERK OF STATE COURT
                                                                                          GWINNETT COUNTY, GEORGIA
                                                                                                    21-C-05090-S5
                                                                                                7/15/2021 9:23 AM
                                                                                              TIANA P. GARNER, CLERK

                        IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

RAYMOND AULTMAN,                                   )
                                                   )
                               PLAINTIFF,          )                   CIVIL ACTION
VS.                                                )
                                                   )                   FILE NO.
QUIKTRIP                                           )
                                                                   21-C-05090-S5
CORPORATION, ABC                                   )
CORP., and                                         )
JOHN DOE,                                          )
                                                   )
                               DEFENDANT.          )


                                              COMPLAINT
        COMES NOW, Raymond Aultman, Plaintiff, and makes and files this Complaint against

Defendants QuickTrip, ABC Corp., and John Doe as follows:

                                 JURISDICTION AND VENUE

                                                   1.

        Plaintiff is a resident of Georgia.

                                                  2.

        QuikTrip Corporation ("Defendant QuikTrip") is a foreign corporation organi~ed under

the laws of the State of Oklahoma. Defendant QuikTrip is authorized to transact and do business

within the State of Georgia, and is subject to the jurisdiction and venue of this Court. At all times

relevant to Plaintiff's claims, Defendant QuickTrip was the employer of Defendant John Doe.

Moreover, Defendant John D.oe was in the course and scope of their employment with Defendant

QuickTrip and engaged in the actual-transaction of Defendant QuickTrip's business at the time of

the subject incident.   Defendant QuickTrip's principal office is located at 4705 S. 129th E.

Avenue, Tulsa, Oklahoma 74134. Service of process may be perfected upon Defendant QuikTrip




                                                                                              EXHIBIT

                                                                                                   J
    Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 2 of 32




through its registered agent, CT Corporation Systems at 289 South Culver Street, Lawrenceville,

Georgia 30046.

                                                     3.

        Defendant ABC Corp. is the corporation or entity that owned, possessed, and/or

controlled the premises involved in the subje~t incident and is subject to the jurisdiction and

venue of this Court. Plaintiff incorporates by reference all claims made in this Complaint against

any other Defendant against Defendant ABC Corp. Defendant ABC Corp. will be named and

served with a copy of this Summons and Complaint once its identity is revealed.

                                                     4.

        Defendant John Doe is the QuikTrip employee and/or agent _involved in the subject

incident and -is subject to the jurisdiction arid venue of this Court. Plaintiff incorporates by

reference all claims made in this Complaint against any other Defendant against Defendant John

Doe. Defendant John Doe will be named and served with a copy of this Summons and Complaint

once his or her identity is revealed.

                                            BACKGROUND
                                                     5.

        On or about March 4, 2020, Plaintiff went to the QuickTrip convenience store located at

2949 Five Forks Trickum Road         s_w, Lawrenceville, Georgia 30044 to purchase a drink.
                                                     6.

        As Plaintiff stood in front of the beverage cooler in the store, Defendant John Doe struck

Plaintiff with a large do Hy/cart.
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                                        COUNTI
                         NEGLIGENCE OF DEFENDANT JOHN DOE

                                                   7.

        Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1

through 6 above as if fully restated.

                                                   8.

        Defendant John Doe had a duty to exercise reasonable care while operating the dolly/cart

on the QuikTrip premises.

                                                   9.

        Defendant John Doe breached his duty to Plaintiff when he failed to operate the dolly/cart

in a safe manner.

                                                   10.

        Defendant John Doe breached his duty to Plaintiff when he failed to properly stack the

items on the dolly/cart in a manner that would not block his visibility.

                                                   11.

        Defendant John Doe breached thi~ duty to Plaintiff when he failed to take adequate

measures to avoid hitting Plaintiff with the dolly/cart.

                                                   12.

        Defendant John Doe breached his duty to Plaintiff when he failed to warn Plaintiff as he

attempted to pass Plaintiff with the dolly/cart.

                                                   13.

       Defendant John Doe's actions caused the aforementioned incident on the QuickTrip

premises.
    Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 4 of 32




                                                  14.

        Defendant John Doe's negligence caused the aforementioned incident on the QuickTrip.

premises.

                                                  15.

        Plaintiff in no way caused or contributed to the subject incident on the QuickTrip

premises.

                                  COUNT II
                NEGLIGENCE OF DEFENDANTS QUIKTRIP and ABC Corp.

                                                  16.

        Plaintiff re-alleges and adopts all allegations contained in paragraphs l through 15 above·

as if fully restated.

                                                  17.

        At all times relevant to this action, Defendants QuikTrip Corporation l;lnd/or ABC Corp . .
                                                                                  I

owned, possessed, and/or controlled the QuickTrip convenience store located.at 2949 Five Forks

Trickum Road SW, Lawrenceville, Georgia 30044.

                                                  18.

        At all times relevant to this action, Defendants QuikTrip and/or ABC Corp. employed

Defendant John Doe and Defendant John Doe was acting within the scope ~nd course of his

employment with Defendant QuickTrip and/or ABC Corp.

                                                 19.

      Defendants QuikTrip and/or ABC Corp. are liable under the doctrine of respondeat

superior for the harm caused to Plaintiff by the wrongful acts of their empioyee, Defendant John ..

Doe, who was acting in the scope and course_of his employment with Defendants QuikTrip
    Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 5 of 32




and/or ABC Corp. and during the actual transaction of Defendants QuikTrip and/or ABC Corp.'s

business when he caused the subject incident and proximately caused injuries to Plaintiff.

                                                   20.

        Defendants QuikTrip and/or ABC Corp. had a duty to exercise ordinary care in keeping

the premises safe for patrons such as Plaintiff.

                                                   21.

        Defendants QuikTrip and/or ABC Corp. breached their duty to Plaintiff when they failed

to adopt appropriate policies and procedures for its employees on how to safely operate a

dolly/cart while inside the QuikTrip convenience store.

                                                   22.

        Defendants QuikTrip and/or ABC Corp. breached their duty to Plaintiff when they failed

to adopt appropriate policies and procedures for its employees on how to properly stack items on

a dolly/cart in a manner that would not'block the employee's visibility.

                                                   23.

       Defendants QuikTrip and/or ABC Corp. negligently hired, trained, retained, and

supervised its employee and/or agent, Defendant John Doe, ·concerning safety procedures for

operating a dolly/cary: while inside the QuikTrip convenience store.

                                                   24.

       Defendants Qui.kTrip and/or ABC Corp. negligently hired, trained, retained, and

supervised its employee and/or agent, Defendant John Doe, concerning safety procedures for

stacking items on a dolly/cart in a manner that would not block visibility.
    Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 6 of 32




                                                   25.

        Defendants QuikTrip and/or ABC Corp. knew or should have known that allowing

patrons to enter the QuickTrip convenience store while failing to properly hire, train, and

supervise its em:ployees and/or agents regarding safely operating a dolly/cart would cause harm

to persons such as Plaintiff.

                                                   26.

        Defendants QuikTrip and/or ABC Corp. knew or should have known that allowing

patrons to enter the QuickTrip convenience store while failing to properly hire, train, and

supervise its employees and/or agents regarding stacking items on a dolly/cart in a manner that

would not block visibility would cause harm to persons such as Plaintiff.

                                                   27.

        Defendants QuikTrip and/or ABC Corp. 's actions caused the aforementioned incident on

the premises.

                                                   28.

        Defendants QuikTrip
                     . . and/or ABC Corp. 's negligence caused the aforementioned incident
on the premises.

                                                   29.

        Plaintiff in no way caused or contributed to the subject incident on the premises.

                                JOINT AND SEVERAL LIABil,ITY

                                                   30.

     The combined acts of Defendants QuikTrip, ABC Corp., and/or John Doe were negligent;

proximately caused Plaintiff's injuries and damages; and said Defendants are jointly and

severally liable for Plaintiff's injuries and damages.
    Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 7 of 32




                                           DAMAGES

                                                  31.

      As a direct and proximate result of Defendants QuikTrip, ABC Corp., and/or John Doe's

negligence, Plaintiff has incurred past medical expenses in excess of $58,350.67, the exact

amount to be proven at trial.

                                                  32.

      As a direct and proximate result of Defendants QuikTrip, ABC Corp., and/or John Doe's

negligence, Plaintiff will incur future medical expenses, the exact amount to be proven at trial.

                                                  33.

        Defendants QuikTrip, ABC Corp., and/or John Doe's negligence proximately caused

injuries to Plaintiff which caused him tremendous physical and mental pain and suffering,

emotional distress, and general inconvenience in amounts to be proven at trial.

                                                  34.

      As a direct and proximate result of Defendants QuikTrip, ABC Corp., and/or John Doe's
                 I
negligence, Plaintiff will continue to suffer both general and special damages in the future,

including expenses for future medical treatments, the exact amount to be proven at trial.

                                                  35·.

     Defendant has acted in bad faith, have been stubbornly litigious, and have caused Plaintiff

unnecessary trouble and expense by forcing Plaintiff to resort to the use of the court system in

order to resolve this claim w:hen there is no bona fide controversy. Accordingly, Plaintiff seeks

attorney's fees and expenses of litigation pursuant to O.C.G.A. § 13-6-11.
    Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 8 of 32




                                         PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that she have a trial on all issues and judgment against

Defendants as follows:

    a. Summons and Complaint be served upon Defendant according to the law;

    b. Plaintiff recover a sum of damages to compensate for Plaintiff's injuries and damages,

        including, but not limited to, past and future medical expenses; past and future lost

        wages; and past, present, and future pain and suffering, the exact amounts to be proven at

        trial;

   c. Plaintiff recover such other and further relief as is just and proper, including but not

        limited to punitive damages, if proven through discovery and trial;

   d. Plaintiff recover reasonable attorney's fees and costs of litigation and any statutory

        penalties allowed by law;

   e. r1aintiff be awarded prejudgment interest on all damages as allowed by law; .

   f.   Interest on the judgment be awarded at the legal rate from the date of judgment;

   g. Plaintiff recover any and all other relief the Court may deem just and proper.


        Respectfully submitted this 15th day of July, 202 l


/s/ Benjamin J. Rollins
Benjamin J. Rollins, Esq.
 GeorgiaBarNo. 613751
Attorney for Plaintiff
   Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 9 of 32




The Angell Law Firm, LLC
3391 Peachtree Rd NE, Suite 110
Atlanta, Georgia 30326
Tel: (404) 418-6007
Fax: (404) 745-0607
                Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 10 of 32

     .   '                                                                                             E-FILED IN OFFICE - EP
                                                                                                     CLERK OF STATE COURT
                                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                                           21-C-05090-S5
..                                                                                                     7/15/2021 9:23 AM
                                                                                                     TIANA P. GARNER, CLERK
                                   IN THE STATE COURT OF GWINNETT COUNTY
                                               STATE OF GEORGIA

             RAYMOND AULTMAN,                                 )
                                                              )
                                          PLAINTIFF,          )                   CIVIL ACTION
             VS.                                              )
                                                              )                   FILE NO.
             QUIKTRJP                                         )
             CORPORATION, ABC                                 )              21-C-05090-S5
             CORP., and                                       )
             JOHN DOE,                                        )
                                                              )
                                          DEFENDANT.          )


                                             CERTIFICATE OF SERVICE

             _ _This is to certify that I have this day delivered a copy of the Summons and Complaint for
             Damages in this action for service on the Defendants, to be served at:
                                                   QuikTrip Corporation-
                                         Registered agent, CT Corporation Systems
                                                  289 South Culver Street
                                                 Lawrenceville, GA 30046

             Respectfully submitted this 15th day of July, 2021.

             Isl Benjamin J. Rollins

             Benjamin J. Rollins, Esq.
             GeorgiaBarNo. 613751
             Attorney for Plaintiff


             The Angell Law Firm, LLC
             3391 Peachtree Rd NE, Suite 110
             Atlanta, Georgia 30326
             Tel: (404) 418-6007
             Fax: (404) 745-0607
                 Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 11 of 32                            CLERK OF STATE COL
                                                                                                         GWINNETT COUNTY, GEOR1
                                                                                                                   21-C-05090-.
                              IN THE STATE COURT OF GWINNETT COUNTY
                                                                                                               7/15/2021 9:23 J.
                                                                                                             TIANA P. GARNER, CLE

                                                  STATE OF GEORGIA
 RAYMOND AULTMAN

                                                                                    CIVIL ACTION 21-C-05090-55
                                                                                    NUMBER:_ _ _ __ _ __ __ _

                                  PLAINTIFF


                      vs.
QUIKTRIP CORPORATION,
ABC CORP., and
JOHN DOE
                                DEFENDANT




                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You a re hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and add ress is:

Benjamin J. Rollins, Esq.
The Angell Law Firm, LLC
3391 Peachtree Rd NE, Suite 110
Atlanta, Georgia 30326
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.
         15TH                                JULY                                 21
This _ __ _ _ __ day of _ __ _ __ __ _ _ _ __ _,                              20_ _ .


                                                                            Tiana P. Garner
                                                                           Clerk of State Court




INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

SC-1 Rev. 2011
              Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 12 of 32
                                                                                                                                                     Print Form

    SHERIFF'S ENTRY OF SERVICE
                                                                                              Superior Court D                 Magistrate Court D
    Civil Action No. --=2-=-
                          1-....::C'--0=5=0""'
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                                               S5=--- --                                      State Court    [!I               Probate Court    D
                                                                                              Juvenile Court D

    Date Filed __
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                                                                                                                    """"'inn
                                                                                                                           = e=-=-tt_ _ __ COUNTY

                                                                                                RAYMOND AULTMAN
    Attorney's Address

        Benjamin J. Rollins                                                                                                             Plaintiff
       3391 Peachtree Rd NE, Suite 110                                                                  vs.
       Atlanta. Georgia 30326
                                                                                                QUIKTRIP CORPORATION, ABC
    Name and Address of Party to Served
                                                                                                CORP., andJOHN DOE
     QuikTrip Corporation                                                                                                               Defendant
     Registered agent, CT Corporation Systems
     289 South Culver Street
     Lawrenceville, GA 30046

                                                                                                                                        Garnishee
                                                                  SHERIFF'S ENTRY OF SERVICE

    PERSONAL
    I have this day served the defendant _ _ _ __ _ _ _ _ _ __ _ __ _ __ __ __ __ _....;~;....~.:;,.._ personally with a copy
□   of the within action and summons.                                                                                  rn
                                                                                                                       0
    NOTORIOUS                                                                                                          rn                   : ,. r
    I have this day served the defendant -:--- -- - -- - - - - -- -- -- -- -- ---...-.::....-~~b~!e@_Vjng a
    copy of the action and summons at his most notorious place abode in this County.                                   , .                      ·<
                                                                                                                       • • I

D   Delivered same into hands of _ _ _ _ _ _ _ _ __ _ _ __ __ _ _ _ _ _ __ _ _ _ __ __ described as follows:
    age, about _ _ __ _ years; weight _ _ __ _ pounds; height _ _ _ _ _ feet and _ __ __ inches, domiciled iij the residence of
    defendant.

    CORPORATION
    Served the defendant       av ~     ,
                                        l
                                             \-
                                                  /\   f   /' _
                                                           LQ>    'P •                                                                  a corporation


J
~
    by leaving a copy of the with.in action and summons with         '4' /\ JC,.... &G..tfll5 ( (_,+)
    In charge of the office and place of doing business of said Corporation in this County.

    TACK & MAIL                                                                                                                -:;-    <-            z    ::!:.
    I ~ve this ~ay s~rved the _above styled affidavit and summon_s on the defe~~ant(s) by posting a cop?' of the s~e to the do~r,,~the~mi_sei~ ~ ~
    designated ID said affidavit and on the same day of such posting by depositing a true copy of same ID the Umted States Maij;fJrSt ~ s ID ~ ~ - -
□   envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed !her~ containing nott~ ~
    to the defendant(s) to answer said summons at the place stated in the summons.                                         ~ 2:.               .... ~
                                                                                                                                          ·: ~ m~
                                                                                                                           ;a     :JC                j.c':
    NONEST                                                                                                                      O      §             -     rf
    Diligent search made and defendant                                                                                          ~      ,_.           92'-'
□   not to be found in the jurisdiction of this Court.                                                                          :::o   r
                                                                                                                                ~



    This   W        dayof_J
                          _·         ~~Ly,___~.20.Z. .
           DEPUlY
                                                                    CLERK'S COPY
         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 13 of 32                   CLERK OF STATE COL
                                                                                        GWINNETT COUNTY, GEOR1
                                                                                                  21-C-05090-
                                                                                            8/17 /2021 10:52 /.
                                                                                           TIANA P. GARNER, CLE

                        IN THE STATE COURT OF GWINNETT COUNTY
                                   STATE OF GEORGIA

RAYMOND AULTMAN,                                          §
                                                          §
         Plaintiff,                                       §
                                                          §    CIVIL ACTION
TI.                                                       §
                                                          §    FILE NO. 21-C-05090-SS
QUIKTRIP CORPORATION, ABC CORP.,                          §
and JOHN DOE,                                             §
                                                          §
     Defendants.                                          §
_ _ __ _ _ _ _ _ _ __ _ _ _ _                             §

                      DEFENDANT QUIKTRIP CORPORATION'S ANSWER
                        AND DEFENSES TO PLAINTIFF'S COMPLAINT

         COMES NOW QUIKTRIP CORPORATION, a Defendant in the above-styled civil

action, and files this, its Answer and Defenses to Plaintiffs Complaint, showing the Court as

follows:

                                               FIRST DEFENSE

         No act or omission of this Defendant proximately caused the occurrence at issue in this

litigation or any damages alleged by the Plaintiff.

                                             SECOND DEFENSE

         As a next Defense, Defendant answers the numbered paragraphs of Plaintiffs Complaint

as follows :

                                      JURISDICTION AND VENUE

                                                     1.

        This Defendant can neither admit nor deny the allegations contained within Paragraph 1

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.




{SECURE Finn/278/00068/PLEADING/03 l 81629.DOCX }
        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 14 of 32




                                                     2.

        This Defendant admits only that it is organized under the laws of the State of Oklahoma,

is authorized to transact and do business within the State of Georgia, is subject to the jurisdiction

and venue of this Court, its principal office is located at 4705 S. 129th E. Avenue, Tulsa,

Oklahoma 74134 and service of process may be perfected upon it through its registered agent,

CT Corporation Systems at 289 South Culver Street, Lawrenceville, Georgia 30046. This

Defendant can neither admit nor deny the remaining allegations contained within Paragraph 2 of

Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                     3.

        This Defendant can neither admit nor deny the allegations contained within Paragraph 3

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                     4.

        This Defendant can neither admit nor deny the allegations contained within Paragraph 4

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                             BACKGROUND

                                                     5.

        This Defendant can neither admit nor deny the allegations contained within Paragraph 5

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.




{SECURE Firm/278/00068/PLEADING/03181629.DOCX}   -   2-
         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 15 of 32




                                                          6.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 6

of Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                         COUNTI
                             NEGLIGENCE OF DEFENDANT JOHN DOE

                                                          7.

         This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 6 of Plaintiff's Complaint, as if those responses were set

forth herein by reference.

                                                          8.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 8

of Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                          9.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 9

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                          10.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 10

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.




{SECURE Firm/278/00068/PLEADING/03 I 8 I 629.DOCX }   -   3-
         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 16 of 32




                                                          11.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 11

of Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                          12.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 12

of Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                          13.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 13

of Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                          14.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 14

of Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                          15.

         This Defendant can neither admit nor deny the allegations contained within Paragraph 15

of Plaintiff's Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.




{SECURE Firm/278/00068/PLEADING/03 l 8 I 629.DOCX }   -   4-
        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 17 of 32




                                      COUNT II
                   NEGLIGEN CE OF DEFENDANT OUIKTRIP and ABC Corp.

                                                     16.

        This Defendant hereby reasserts and incorporates by reference the responses made

previously to Paragraphs 1 through 15 of Plaintiffs Complaint, as if those responses were set

forth herein by reference.

                                                     17.

        This Defendant admits only that it possessed the QuikTrip convenience store located at

2949 Five Forks Trickum Road, SW, Lawrenceville, GA 30044. This Defendant can neither

admit nor deny the remaining allegations contained within Paragraph 17 of Plaintiffs Complaint

for want of knowledge or information sufficient to form a belief as to the truth thereof and puts

Plaintiff upon strict proof of the same.

                                                     18.

        This Defendant can neither admit nor deny the allegations contained within Paragraph 18

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                     19.

        This Defendant can neither admit nor deny the allegations contained within Paragraph 19

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.

                                                     20.

        This Defendant can neither admit nor deny the allegations contained within Paragraph 20

of Plaintiffs Complaint for want of knowledge or information sufficient to form a belief as to the

truth thereof and puts Plaintiff upon strict proof of the same.



{SECURE Firm/278/00068!PLEADING/03181629.DOCX}   -   5-
         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 18 of 32




                                                        21.

         This Defendant denies the allegations contained within Paragraph 21 of Plaintiffs

Complaint.

                                                        22.

         This Defendant denies the allegations contained within Paragraph 22 of Plaintiffs

Complaint.

                                                        23 .

         This Defendant denies the allegations contained within Paragraph 23 of Plaintiffs

Complaint.

                                                        24.

         This Defendant denies the allegations contained within Paragraph 24 of Plaintiffs

Complaint.

                                                        25.

         This Defendant denies the allegations contained within Paragraph 25 of Plaintiffs

Complaint.

                                                        26.

         This Defendant denies the allegations contained within Paragraph 26 of Plaintiffs

Complaint.

                                                        27.

         This Defendant denies the allegations contained within Paragraph 27 of Plaintiff's

Complaint.




{SECURE Firm/278/00068/PLEADING/0318 l 629.DOCX }   -   6-
        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 19 of 32




                                                        28.

         This Defendant denies the allegations contained within Paragraph 28 of Plaintiff's

Complaint.

                                                        29.

        This Defendant denies the allegations contained within Paragraph 29 of Plaintiffs

Complaint.

                                 JOINT AND SEVERAL LIABILITY

                                                        30.

        This Defendant denies the allegations contained within Paragraph 30 of Plaintiffs

Complaint.

                                                  DAMAGES

                                                        31.

        This Defendant denies the allegations contained within Paragraph 31 of Plaintiffs

Complaint.

                                                        32.

        This Defendant denies the allegations contained within Paragraph 32 of Plaintiffs

Complaint.

                                                        33.

        This Defendant denies the allegations contained within Paragraph 33 of Plaintiffs

Complaint.

                                                        34.

        This Defendant denies the allegations contained within Paragraph 34 of Plaintiffs

Complaint.




{SECURE Finn/278/00068/PLEADING/03181629.DOCX }     -   7-
         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 20 of 32




                                                         35.

         This Defendant denies the allegations contained within Paragraph 35 of Plaintiff's

Complaint.

                                                         36.

          This Defendant denies that Plaintiff is entitled to the relief requested in the "Wherefore"

paragraph of Plaintiffs Complaint.

                                                         37.

         This Defendant denies any remaining allegations contained in Plaintiffs Complaint not

previously responded to.

         WHEREFORE, having fully answered, Defendant QUIKTRIP CORPORATION prays

that it be discharged without costs.

                       A TRIAL BY A JURY OF TWELVE IS DEMANDED.

         This 17th day of August, 2021 .

                                                               CRUSER, MITCHELL, NOVITZ,
                                                               SANCHEZ, GASTON & ZIMET, LLP



Meridian II, Suite 2000
275 Scientific Drive                                           Georgia Bar No. 199480
Peachtree Corners, GA 30092                                    CANDICE R. BRYANT
(404) 881-2622                                                 Georgia Bar No. 807404
(404) 881-2630 (Fax)                                           Attorneys for Defendant
rcru cr@cmlawfom.c0m
cbryant(W.cmlawfim1.com




{SECURE Firm/278/00068/PLEADING/03 18 I 629.DOCX }   -   8-
         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 21 of 32




                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

RAYMOND AULTMAN,                                     §
                                                     §
         Plaintiff,                                  §
                                                     §       CIVIL ACTION
TI.                                                  §
                                                     §       FILE NO. 21-C-05090-SS
QUIKTRIP CORPORATION, ABC CORP.,                     §
and JOHN DOE,                                        §
                                                     §
        Defendants.                                  §
- --         --------- §

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have this day electronically filed the within and foregoing
DEFENDANT QUIKTRIP CORPORATION'S ANSWER AND DEFENSES TO
PLAINTIFF'S COMPLAINT with the Clerk of Court using the Odyssey eFileGA system
which will automatically send e-mail notification of such filing to the following counsel of
record:

                                        Benjamin J. Rollins, Esq.
                                         James A. Watson, Esq.
                                       The Angell Law Firm, LLC
                                   3391 Peachtree Road NE, Suite 110
                                           Atlanta, GA 30329

        This 17th day of August, 2021 .

                                                         CRUSER, MITCHELL, NOVITZ,
                                                         SANCHEZ, GASTON & ZIMET, LLP



Meridian II, Suite 2000
275 Scientific Drive
                                                      J~~
                                                      Georgia Bar No. 199480
Peachtree Comers, GA 30092                            CANDICE R. BRYANT
(404) 881-2622                                        Georgia Bar No. 807404
(404) 881-2630 (Fax)                                  Attorneys for Defendant




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        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 22 of 32                      CLERK OF STATE COL
                                                                                          GWINNETT COUNTY, GEOR1
                                                                                                     21-C-05090-.
                                                                                                8/17/2021 10:52 /.
                                                                                                TIANA P. GARNER, CLE

                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

RAYMOND AULTMAN,                                      §
                                                      §
        Plaintiff,                                    §
                                                      §       CIVIL ACTION
vs.                                                   §
                                                      §       FILE NO. 21-C-05090-SS
QUIKTRIP CORPORATION, ABC CORP.,                      §
and JOHN DOE,                                         §
                                                      §
        Defendants.                                   §
_ __ _ _ _ __ _ _ __ _ _ _ __                         §

                     DEFENDAL~T OUIKTRIP CORPORATION'S
                 DEMAND FOR TRIAL BY A JURY OF TWELVE PERSONS

        COMES NOW QUIKTRIP CORPORATION, named as a Defendant in the above-

styled civil action, and files this Demand for Trial by a Jury of Twelve Persons pursuant to

O.C.G.A. § 15-12-122(a)(2), which states as follows:

        In all civil actions in the state courts in which the claim for damages is greater
        than $25,000.00, either party may demand in writing prior to the commencement
        of the trial term that the case be tried by a jury of 12. If such a demand is made,
        the judge shall follow the procedures for superior courts of sub-section (b) of this
        Code section.

See also O.C.G.A. § 15-12-123(a)(2) which reads as follows:

        In all civil actions in the state courts in which a jury of 12 is demanded, the judge
        shall follow the procedures for superior courts of sub-section (b) of this Code
        section.

        WHEREFORE, demand is made for trial of this case by a jury of 12 as provided by law.




                                   [Signature contained on next page.]




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        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 23 of 32




        This 17 th day of August, 2021.

                                                          CRUSER, MITCHELL, NOVITZ,
                                                          SANCHEZ, GASTON & ZIMET, LLP



Meridian II, Suite 2000
275 Scientific Drive                                      Georgia Bar No. 199480
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(404) 881-2622                                            Georgia Bar No. 807404
(404) 881-2630 (Fax)                                      Attorneys for Defendant
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cb1vant@cmlawfim1.com




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         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 24 of 32




                         IN THE STATE COURT OF GWINNETT COUNTY
                                    STATE OF GEORGIA

RAYMOND AULTMAN,                                        §
                                                        §
         Plaintiff,                                     §
                                                        §       CIVIL ACTION
ft.                                                     §
                                                        §       FILE NO. 21-C-05090-SS
QUIKTRIP CORPORATION, ABC CORP.,                        §
and JOHN DOE,                                           §
                                                        §
     Defendants.             §
_ _ _ _ __ __ _ __ __ _ __ _ §

                                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this day electronically filed the within and foregoing
DEFENDANT QUIKTRIP CORPORATION'S DEMAND FOR TRIAL BY A JURY OF
TWELVE PERSONS with the Clerk of Court using the Odyssey eFileGA system which will
automatically send e-mail notification of such filing to the following counsel of record:

                                           Benjamin J. Rollins, Esq.
                                            James A. Watson, Esq.
                                         The Angell Law Firm, LLC
                                      3391 Peachtree Road NE, Suite 110
                                              Atlanta, GA 30329

         This 17th day of August, 2021.

                                                            CRUSER, MITCHELL, NOVITZ,
                                                            SANCHEZ, GASTON & ZIMET, LLP



Meridian II, Suite 2000
275 Scientific Drive
                                                         J~~
                                                         Georgia Bar No. 199480
Peachtree Comers, GA 30092                               CANDICE R. BRYANT
(404) 881-2622                                           Georgia Bar No. 807404
(404) 881-2630 (Fax)                                     Attorneys for Defendant




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                                                                                       GWINNETT COUNTY, GEOR1
                                                                                                 21-C-05090-
                                                                                            8/17/2021 10:52 /.
                                                                                            TIANA P. GARNER, CLE

                       IN THE STATE COURT OF GWINNETT COUNTY
                                  STATE OF GEORGIA

RAYMOND AULTMAN,                                    §
                                                    §
         Plaintiff,                                 §
                                                    §       CIVIL ACTION
~                                                   §
                                                    §       FILE NO. 21-C-05090-SS
QUIKTRIP CORPORATION, ABC CORP.,                    §
and JOHN DOE,                                       §
                                                    §
         Defendants.                                §
- - -- - - - - - - -- - - - - - §

                          DEFENDANT OUIKTRIP CORPORATION'S
                          NOTICE OF FILING NOTICE OF REMOVAL

TO:      Plaintiff RAYMOND AULTMAN, c/o his attorneys

        Pursuant to 28 U.S.C. § 1446(d), you are hereby notified that Defendant QuikTrip

Corporation has filed a Notice of Removal of the above-styled action to the United States

District Court for the Northern District of Georgia, Atlanta Division, a copy of which is attached

hereto and by reference made a part hereof.

        This 17th day of August, 2021.

                                                     CRUSER, MITCHELL, NOVITZ,
                                                     SANCHEZ, GASTON & ZIMET, LLP



Meridian II, Suite 2000                              J~~----
275 Scientific Drive                                Georgia Bar No. 199480
Peachtree Comers, GA 30092                          CANDICE R. BRYANT
(404) 881-2622                                      Georgia Bar No. 807404
(404) 881-2630 (Fax)                                Attorneys for Defendant
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cbryant@cmlawfinn.com




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        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 26 of 32




                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

RAYMOND AULTMAN,                                    §
                                                    §
         Plaintiff,                                 §
                                                    §    CIVIL ACTION
vs.                                                 §
                                                    §    FILE NO.   -----
QUIKTRIP CORPORATION, ABC                           §
CORP., and JOHN DOE,                                §
                                                    §
        Defendants.                                 §
_________ §

   DEFENDANT OUIKTRIP CORPORATION'S NOTICE OF REMOVAL

        COl\.ffiS NOW QUIKTRIP CORPORATION, a Defendant in the above-

styled civil action, and hereby removes Civil Action File No. 21-C-05090-S5 from

the State Court of Gwinnett County to the United States District Court for the

Northern District of Georgia, Atlanta Division, pursuant to Fed. R. Civ. P. 81(c)

and 28 U.S.C. §§ 1332, 1441 and 1446, and as grounds for its removal states as

follows:

                                STATEMENT OF THE CASE



        Defendant Quik:Trip Corporation has been sued in a civil action brought in

the State Court of Gwinnett County, which is located within the Atlanta Division



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         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 27 of 32




of the United States District Court for the Northern District of Georgia. Pursuant

to 28 U.S.C. § 1446(a), a true and correct copy of all of the process, pleadings,

orders and documents from the State Court Action have been attached as

Defendant QuikTrip Corporation's Exhibit I (hereinafter "Exhibit 1").

                                                     2.

         The present matter is an action for damages for bodily injuries stemming

from a March 4, 2020 incident alleged to have occurred at Defendant QuikTrip

Corporation retail store located at 2949 Five Forks Trickum Rd., Lawrenceville,

GA 30044 (hereinafter "the subject incident"). See Exhibit 1, Complaint, ,r 5.

Plaintiff makes claims against Defendant QuikTrip Corporation for (i) ordinary

negligence, (ii) negligence per se, and (iii) vicarious liability. Id., Complaint, ,r,r

16-30.

                                                     3.

        The Complaint was filed July 15, 2021, in the State Court of Gwinnett

County, Civil Action File No. 21-C-05090-SS. See Exhibit 1, Complaint.

Defendant QuikTrip Corporation was served with the Summons and Complaint on

July 20, 2021.




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             DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)

                                                     4.

        Plaintiff Raymond Aultman is a citizen of the State of Georgia. Id.,

Complaint, 1 1. Defendant QuikTrip Corporation is, and was at the time this

lawsuit was filed, a corporation organized under the laws of the State of Oklahoma

with its principal place of business in the State of Oklahoma. Id., Complaint, 1 2.

Therefore, there is complete diversity of citizenship between the parties.

                                                     5.

        Plaintiff contends that he has "incurred past medical expenses in excess of

$58,350.67, the exact amount to be proven at trial" Exhibit 1, Complaint, 131.

Plaintiff also alleges that he "will incur future medical expenses, the exact amount

to be proven at trial" and "will continue to suffer both general and special damages

in the future, including expenses for future medical treatments, the exact amount to

be proven at trial" Id., Complaint, ,r1 32; 34. Plaintiff is additionally seeking

"attorney's fees and expenses of litigation pursuant to O.C.G.A. § 13-6-11." Id.,

Complaint, 135. Further, Plaintiff asserted a settlement demand for $750,000.00.

                                                     6.

        In determining whether the requisite $75,000.00 amount in controversy has

been established, jurisdiction "is proper if it is facially apparent from the complaint


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        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 29 of 32




that the amount in controversy exceeds the jurisdictional requirement." Williams v.

Best Buy Co., Inc., 269 F.3d 1319 (11th Crr. 2001). In the present case, given the

damages claimed by Plaintiff, it is facially apparent from Plaintiffs Complaint that

the requisite $75,000.00 amount in controversy requirement has been met.

                        ALL PROCEDURAL REQUIREMENTS
                       FOR REMOVAL HAVE BEEN SATISFIED

                                                     7.

        This Notice of Removal is filed within 30 days from the date that Defendant

 QuikTrip Corporation has been served with the Summons and Complaint in this

 matter. Removal is, therefore, timely in accordance with 28 U.S.C. § 1446(b).

                                                     8.

        Pursuant to 28 U.S.C. 1446(b)(2)(A), "all defendants who have been

properly joined and served must join in or consent to the removal of the action."

As such, Defendant QuikTrip Corporation expressly consents to the removal of

this action and the requirements of28 U.S.C. § 1446(b)(2)(A) have been met.

                                            CONCLUSION

        By this Notice of Removal, Defendant QuikTrip Corporation does not waive

any objections it may have as to service, jurisdiction or venue, or any other

defenses or objections it may have to this action. Defendant QuikTrip Corporation



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        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 30 of 32




intends no admission of fact, law or liability by this Notice and expressly reserves

all defenses, motions and/or pleas.

        WHEREFORE, Defendant QuikTrip Corporation prays that the case be

removed to the United States District Court for the Northern District of Georgia,

Atlanta Division.

        This 17th day of August, 2021.

                                                 CRUSER, MITCHELL, NOVITZ,
                                                 SANCHEZ, GASTON & ZIMET, LLP


                                                 Isl Candice R. Bryant
                                                 J. ROBB CRUSER
Meridian II, Suite 2000                          Georgia Bar No. 199480
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(404) 881-2622                                   Attorneys for Defendant QuikTrip
(404) 881-2630 (Fax)                             Corporation
rcruser@cmlawfirm.com
cbryant@cmlawfirm.com



                             CERTIFICATE OF COMPLIANCE

        Undersigned counsel certify the foregoing document has been prepared with

one of the font and point selections (Times New Roman, 14 point) approved by the

Court in Local Rule 5.l(C).




{SECURE Finn/278/00068/PLEADING/03184384.DOCX}   -   5-
        Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 31 of 32




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the undersigned has this day electronically filed

the within and foregoing DEFENDANT QUIKTRIP CORPORATION'S

NOTICE OF REMOVAL with the Clerk of Court using the CM/ECF system

which will send e-mail notification of such filing to the following attorneys of

record:

                                    Benjamin J. Rollins, Esq.
                                     James A. Watson, Esq.
                                  The Angell Law Firm, LLC
                               3391 Peachtree Road NE, Suite 110
                                       Atlanta, GA 30329
                                      Counsel for Plaintiff

        I FURTHER CERTIFY that the undersigned has mailed copies of the entire

pleading referenced above to all counsel of record at the above address.

        This 17th day of August, 2021.

                                                 CRUSER, MITCHELL, NOVITZ,
                                                 SANCHEZ, GASTON & ZIMET, LLP


                                                 /s/ Candice R. Bryant
                                                 J. ROBB CRUSER
Meridian II, Suite 2000                          Georgia Bar No. 199480
275 Scientific Drive                             CANDICE R. BRYANT
Peachtree Comers, GA 30092                       Georgia Bar No. 807404
(404) 881-2622                                   Attorneys for Defendant QuikTrip
(404) 881-2630 (Fax)                             Corporation
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         Case 1:21-cv-03346-SDG Document 1-1 Filed 08/17/21 Page 32 of 32



                        IN THE STATE COURT OF GWINNETT COUNTY
                                   STATE OF GEORGIA

RAYMOND AULTMAN,                  §
                                  §
       Plaintiff,                 §
                                  §                         CIVIL ACTION
 vs.                              §
                                  §                         FILE NO. 21-C-05090-SS
 QUIKTRIP CORPORATION, ABC CORP., §
 and JOHN DOE,                    §
                                  §
       Defendants.                §
_ _ _ __ _ _ __ _ _ __ __ _ _ §

                                     CERTIFICATE OF SERVICE

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DEFENDANT QUIKTRIP CORPORATION'S NOTICE OF FILING NOTICE OF
REMOVAL with the Clerk of Court using the Odyssey eFileGA system which will
automatically send e-mail notification of such filing to the following counsel of record:

                                        Benjamin J. Rollins, Esq.
                                         James A. Watson, Esq.
                                      The Angell Law Firm, LLC
                                   3391 Peachtree Road NE, Suite 110
                                          Atlanta, GA 30329

        This 17th day of August, 2021.

                                                      CRUSER, MITCHELL, NOVITZ,
                                                      SANCHEZ, GASTON & ZIMET, LLP



Meridian II, Suite 2000
275 Scientific Drive
                                                      J~~
                                                      Georgia Bar No. 199480
Peachtree Comers, GA 30092                            CANDICE R. BRYANT
(404) 881-2622                                        Georgia Bar No. 807404
(404) 881-2630 (Fax)                                  Attorneys for Defendant




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